Fil| in this informallc_on to_ identify your case:

 

Uniled Slates Bankruplcy Courl further

WESTERN DFSTR|CT OF TEXAS

 

 

 

Case number armown} Chapfer 11
I:l Check if lh|s an
amended filing
Officiaf Form 201
Voluntary Petition for Non-|ndividua|s Filing for Bankruptcy ms

 

lf more space ls needed, attach a separate sheet to this form. On the top of any add|llonal pages. write the debtor's name and case number (if known).
For more information, a separate documen¢, instructions for Bankruptcy Forms far Non-l'ndlvlduals, ls avallahle.

1, Debtor’s name All American Ofl & Gas lncorporated

 

 

2. All other names debtor
used in the last 8 years

include any assumed
names. trade names and
doing business as names

 

3. Debtor's federal
Employer|dentiflcallon 20'0485894

 

 

 

Number (E|N)
4. Debtor's address Prlnclpa| place of business Mal|ing address, lf different from principal place of
business
8601 N[cAl|ister Fralway, Sulte 221
San Antonlo. TX 78216
Nurnber. Slreet. Cily. Slale & ZlP Code P.O. Box. Number. Slreet. Cify, Slale & ZlP Code
Bexar Locatlon of princlpaf assels, if different from prlncipal
Coun{y place of business

 

Number, Slreel, City. Slale & Z|P Code

 

5- DHbef'SWBbSlfS(URL) htlps:liwww.aaoglnc.com

 

6- TVPS °’ d€bf°' l corpurauon unclede Limned uabnuy company (LLC) and mmich Liabsmy Pannershlp (LLP))

U Parlnershlp (exc!uding LLP)
fl Olher.Speclfy:

 

 

Oflicial Form 201 Voluntary Pelllion for Non-[nd|vldua|s Fl||ng for Bankruplcy page 1

 

 

 

 

UEbi°i A|| American 0il & Gas lncorporated CBSE number ("'*"°W")
blame
7. Descrtbe debtor's business A. Check one:

l:i l-iealth Care Business (as defined in 11 U.S.C.§ 101(27A))
ij Singie Asset Real Estate (as defined in 11 U.S.C. § 101(515))
Cl Raiiroad (as delined in 11 U.S.C. § 101(44))

i`_'l Stockbroker (as delined |n 11 U.S.C. § 101(53.¢\))

l:l Cornrnodily Brol<er(as deEned in 11 U.S.C. § 101(6))

Cl Ciearlng Bank (as deiined in 11 U.S.C. § 781(3))

l None otthe above

Br Check ali that apply

l:i Tax-exempt entity (as described in 26 U.S.C. §501)

El investment company. including hedge fund or pooled Investment vehicle (as defined In 15 U.S.C. §80a-3)
t:l investment advisor(as defined in 15 U.S.C. §BOb-Z(a)(H})

C. NA|CS (North American industry Ctassiticaiion Syslern) 4~digit code that best describes debtor.
See hitg:iiwww.uscourts.gov!tour-d|git-national-association-naics-codes.

 

 

 

 

 

 

 

 

0055
8. Under which chapter ot the Check one;
Bankruptcy Code is the
debtor nling? n Chap‘°r 7
El Chapter 9
- Chapter 11. Chack ailihat appiy:
E] Debtor‘s aggregate noncontin¢ent liquidated debts (excluding debts owed to insiders or atfiliates)
are less than $2.566,050 (amount subject to adjustment on 4{01!19 and every 3 years after that).
n The debtor is a smaii business debtor as defined in 11 U.S.C. § 101(51D). lfthe debtor is a small
business debtor, attach the most recent balance sheef. statement of operations cash-flow
statement and federal income tax return orii a|| of these documents do notexisl, follow the
procedure in 11 u.s.c. § 1116(1)(3).
L__t A pian is being tiled with this petition
l:i Acceptances of the plan were solicited prepetition from one or more classes ot creditors, in
accordance with 11 U.S.C. § 1126(b).
The debtor is required to tile periodic reports (l'or examplel iDK and 10Q) with the Securilies and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. Fi|e the
attachment to Vaiuniery Peii!ion far Nan-ina'ivr'duais Fr'ii'ng for Benkruptcy under Cheplor 1 ‘i
(OIHciai Form 201A) with this form.
i:i The debtor ls a shelt company as denned in the Securities Exchange Acl of 1934 Ruie 12t)-2.
i:] Chapter 12
9. Were prior bankruptcy l N°
cases tited by or against '
tile debtor thhin the last 8 |:I Yes_
years?
|f more than 2 cases, attach a l
separate gls¢_ Distnct When Case number
Districi When Case number
10. Are any bankruptcy cases |:| No
pending or being filed by a
business partner or an l Yes.
affiliate of the debtor?
Lisl all cases. lt more than t,
attach a separate list Debt°r 399 Attachment Reiationship
Dislricl When Case numberl if known
Otticial Form 201 Votuntary Petition for Non~lndiv|dua|s Fii|ng for Bankruptcy page 2

 

 

 

 

 

 

 

 

 

 

Deb‘°i Al| Arnerican Oi| & Gas incorporated Case number (""i'"*"*")

Name

 

11. Why isthecase filed in Checkaill‘hatappiy:

this dis trfct?
l Debtor has had lis domiciie, principal place of businessl or principal assets in this district for 180 days immediately

preceding the date of this petition orfor a longer part of such 180 days than in any other district
[:l A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending iri this district

 

12. Does the debtor own or § No
have possession of any
real property or personal
property that needs
immediate attention?

n Yes Ariswer below for each property thai needs immediate altention. Attach additional sheels ii needed

Wily does the property need immediate atlention? (Chect< ali that eppl'y.)
l:l it poses or is alleged to pose a threat ofimrninentarld identitiabte hazard to public health or safety.
Whal is the hazard?

 

Cl ii needs to be physically secured or protected from the weather.

L'.] tt includes perishable goods or assets that could quickly deteriorate or lose value without attention (for examp|e,
iivestock, seasonal goods, meatl dairy, produce, or securities-related assets or other options).

[:l Other
Where is the property?

 

 

Number. Sireet, City. State & Z|P Code
is the property insured?
|:I No

|:l YES, insurance agency

 

Contact name
Phone

 

 

 

- Statistica| and administrative information

13. Debtor's estimation of . Ci'ieck one.'
available funds

 

l Funds witt be available for distribution to unsecured creditors

l:l Afier any administrative expenses are paid. no funds will be available to unsecured creditors

 

 

14. Estimated number of f 1_49 |:| 11900.5,030 {j_] 25.001.50|990
°'°d“°'$ 13 59_99 E| 5001-10,000 iii 50.001-1oo,ooo
ij 100_199 tit 10,001-25,000 lIi nolo inanlco.ooo
l;'l 200-999
15l Esfimafed Assefs iii so - sso.oco El lil,ouo,ool - sic million tit seco,coo,ooi _ s1 billion

till sso.ocl - s100.000
|Ii sioo,col ~ $500.000
ill $sco,col - s1 million

iii $10.000.001 » 550 million
Ei $50.000,001 ~ sine million
l sicn,ooc,oci - $500 million

L'Zl $1,000,000,001 - $10 billion
|Il $lo,oeo,uco,ocl - $50 billion
El More than $50 biiiicn

 

16. Estimated liabilities

ft $0 - sso.coo

iI| $50,001 - $100,000
|I| stoo,ool - $500.000
|Z| ssoo,ooi - 51 miiiioo

iii $1,000,001 - $10 million

EI| $io,ooc,ool - $50 miilion
iii $50,000,001 ~ 3100 million
l sloo,ooo,om -sooo mliilon

iii ssoo,ooo,om - $1 binion

iI| $1,000,000.001 - $10 oiiiion
ij $10,000.000,001 - $50 billion
El liiore than ssc billion

 

Oi"ncial Form 201

Vo|untary Fetltion for tina-individuals Fti|ng for Baniiruptcy

page 3

 

 

 

 

 

 

D°bl°f A|l American Oi| & Gas incorporated ease number l”i"°*””)

 

Neme

- Request for Re|tef, Declaration, and Signatures

 

WARNING -- Bankruptcy fraud ls a serious crime. Maklng a false statement tn connection with a bankmptcy case can result ln tines up to $500.000 or
imprisonment for up to 20 years, orbolh. 18 U.S.C. §§ 152, 1341, 1519, and 35?1.

17. Declaratton and signature
of authorized The debtor requests relief in accordance with the chapter of title 11, United Staies Code, specified in this petitionl
representative of debtor
l have been authorized to file this petition on behalf of the debtor.
l have examined the lnformatton in this petition and have a reasonable belief that the information is trued and correci.

l declare under penalty of perjury that the foregoing is true and correct.

 

 

 

 

 

Execufed nn 11."12/20'18
MM l DD l YYYY
X //j\.;;'><’// _i. con collier
i§riature of authorrl`zjd representative of debtor F'rinted name
into Contrc}le and Treasurer
‘IB.Slgnature of attorney X legth `~\#Q'L/ '_"”' Date 11/12"2018
Slgnature of attorney for debtor NtM i' DD lYYYY

Deborah D. Wt||iamson 21617500
Prtnted name

Dykema Gossett PLLC
Firm name

112 E. Pecan Street, Suite 1800

San Antonio, TX 78205-1521
Number, Street, City, State & ZlP Code

Contact phone 210-554-5500 Email address dwi|liamson@dykerria.com

 

21617500 TX
Elar number and State

Oiticial Form 201 Voiuntary Petition for Non-tnd|viduais Filing for Elanirruptcy page 4

 

DBN°I A|l American Oil & Gas incorporated CE‘SB number (”""°W”)
Name

 

Fill in this information to identify your case:

 

Unlted Stales Bankruptcy Court for the:

WESTERN D|STRlCT OF TEXAS

 

Case number armonan Chapter 11

L`_l Check lithis an
amended filing

 

 

FORM 201. VOLUNTARY PETITiON

 

Pending Bankruptcy Cases Attachment

 

 

 

 

Debfor Kern River Holdings tnc. Reiationship to you Subsidiary
Disiricl Wesiem msu-icf of 113an Wiien Case number, lt known
Debtor Western Power & Steam, lnc. Re|atiunship iv you Subsidiary
Dlstrlct Western Disrric{ of Texas When ` Case number. ii known

 

Officiat Form 201 Voluntary Petttion for Non-|ndividua|s Filing for Bankruptcy page 5

 

 

 

 

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF TEXAS

lNRE:

ALL AMER|CAN OlL & GAS lNCORPORATED
Case No.

 

\'-mC¢OB¢Ob¢OJ€m

'l 1
chtor(s) Chapter

DECLARATION FOR ELECTRONIC FILING OF

BANKRUPTCY PETITION ANI) MASTER MAILING LIST tMATRIXi

PART I: DECLARATION OF PETITIONER:

As an individual debtor in this case, or as the individual authorized to act on behalf of the
corporation, partnership or limited liability company seeking bankruptcy relief in this case, I hereby
request relief as, or on behalf of, the debtor in accordance with the chapter of title ll, United States Code,
specified in the petition to be filed electronically in this case. I have read the information provided in the
petition and in the lists of creditors to be filed electronically in this case and I hereby declare under
penalty of perjury that the infolmation provided therein, as well as the Social security information
disclosed in this document, is true and con'cct. I understand that this Dcclaration is to be filed with the
Bankruptcy Coult within seven (7) business days after the petition and lists of creditors have been filed
electronically. I understand that a failure to file the signed original of this Dcclaration will result in thc
dismissal of my case.

|:| [Oirly include for Cliapfer 7 individual petitioners whose debts ore primarily consumer
debrs] ~
l am an individual whose debts are primarily consumer debts and who has chosen to file under
chapter 7. I am aware that I may proceed under chapter 7, Il, 12, or 13 of title ll, Unlted States
Codc, understand the relief available under each chaptcr, and choose to proceed under chapter 7.

[Only include if petitioner is o oorporarr'orr, partnership oi' limited liability coriipany] -
I hereby further declare under penalty of perjury that I have been authorized to file the petition
and lists of creditors on behalf of the debtor in this casc.

Date: 11/12/2018 /l/j,l_//<

,/ -
;'rjebttff”~ 1 Tax ii;) XX-XXXXXXX J°m*Debt°r
Soc. Sec. No. Soc. Soc. No.

 

PAR'I` II: DECLARATION OF ATTORNEY:

I declare under penalty of perjury that: (l) l will give the debtor(s) a copy of alt documents
referenced by Part I herein which are filed with the United States Bankruptcy Court; and (2) l have
informed the debtor(s), if an individual with primarily consumer debts, that he or she may proceed under
chapter 7, ll, ]2, or 13 of title ll, Unitcd States Codc, and have explained the relief available under each
such chapter.

Date: ll[lzl?/Olg LQJVMM/_,_/_

Attorney for Debtor

CERTIFICATE AS TO RESOLUTIONS
ADOPTEI) BY BOAR]) OF DIRECTORS OF

ALL AMERICAN OIL & GAS INCORPORATED

I, the undersigned, being duly elected as Secretary of All American Oil & Gas
lncorporated, a Delaware corporation (the “Company”), do hereby certify that the following
resolutions were duly adopted by the Board of Directors of the Company (the “Board”) at a
meeting of the Board held on November lO, 2018, and such resolutions have not been amended or
rescinded and are now in full force and effect:

WHEREAS, the Board has reviewed and considered, among other things, the
financial condition of the Company on the date hereof; and

WHEREAS, the Board has received, reviewed, and considered the
recommendations of the management of the Company and the Company’s legal and other
advisors as to the relative risks and benefits of pursuing a bankruptcy case under the provisions
of title ll of the United States Code (the “Bankruptcy Code”).

Chapter 11 Fiiing

NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Board,
it is desirable and in the best interests of the Company and its stakeholders that the Company
seek relief under the Banl<ruptcy Code; and it is

FURTHER RESOLVED that the Company shall be, and hereby is, authorized to
file a voluntary petition (the “Petition”) for relief under the provisions of Chapter ll of the
Banlcruptcy Code (the “Chapter ll Case”) in the United States Bankruptcy Court for the Wester_n
District of Texas ((the “Bankruptcy Court”) and perform any and all such acts as are reasonable,
advisable, expedient, convenient, proper or necessary to effectuate the purpose and intent of the
foregoing; and it is

 

FURTHER RESOLVED, that the president, chief executive officer, treasurer
and the corporate secretary (collectively, the “Designated Officers”), and each of them acting
alone, hereby is authorized, and directed, in the name and behalf of the Company, to: (a)
execute, acknowledge deliver, and verify the Petition and all other ancillary documents, and
cause the Petition to be filed With the Banl<ruptcy Court and make or cause to be made prior to
the execution thereof any modifications to the Petition or ancillary documents as any such
Designated Officer, in such person’s discretion, deems necessary, desirable or appropriate to
carry out the intent and accomplish the purpose of these resolutions; and it is

FURTHER RESOLVED, that the Designated Officers or any one of them be,
and each hereby is, authorized to execute, deliver and file or cause to be executed, delivered and
filed (or direct others to do so on their behalf as provided herein) all documents determined by
any Designated Of`ficer to be necessary or appropriate, including, vvithout limitation, all petitions,
affidavits, schedules, motions, lists, applications pleadings and other papers, and to take any and

4813-44()7-82(}2.1

 

all other actions which he or she determines to be necessary and proper in connection with the
Chapter ll Case,' such determination to be conclusively evidenced by the execution, delivery or
filing thereof or the taking of any such other action by such Designated Officer; and it is

FURTHER RESOLVEI), that all acts lawfully done or actions lawfully taken by
any Designated Officer or other agent of the Company to Seek relief under Chapter ll of the
Bankruptcy Code or in connection with the Chapter ll Case, be, and hereby are, adopted,
ratified, confirmed and approved in all respects as the acts and deeds of the Company; and it is

FURTHER RESOLVED, that the Designated Officers or any one of them be,
and each hereby is, authorized and empowered to prepare, execute and deliver for and on behalf
of the Company (as a debtor and debtor in possession, as applicable), and to cause the Company
to perform its obligations under, such agreements, instruments, certificates and any and all other
documents and amendments or other modifications necessary or appropriate to facilitate the
transactions contemplated by the foregoing resolutions as may be determined to be necessary or
appropriate by such Designated Officer in connection with the exercise or performance by the
Company of its rights or obligations thereunder, or as may be determined to be necessary or
appropriate by such Designated Officer in connection with the conduct of the Chapter l l Case,
including, without limitation, any disclosure statement and/or other plan documents, containing
such provisions, terms, conditions, covenants, warranties and representations as may be
determined to be necessary or appropriate by the Designat_ed Officer or Designated Officers so
acting, such determination to be conclusively evidenced by the execution thereof by such
Designated Officer; and it is

FURTHER RESOLVED, that the Designated Officers or any one of them bc,
and each hereby is, authorized and empowered to engage such further accountants, counsel,
consultants or advisors and to do such other acts and things as may be determined to be
necessary or appropriate by the Designated Of`ficer or Designated Officers so acting in order to
fully effectuate the purpose and intent of the foregoing resolutions and to accomplish the
transactions contemplated thereby, such determination to be conclusively evidenced by the
retention or taking of any such action by such Designated Officer.

Retention of Professionals and Claims and Noticing Agent

IT IS RESOLVED, that the retention of the law firm of Hogan Lovells US LLP
(“Hogan Lovells”), to represent the Company as general bankruptcy counsel on the terms set
forth in its engagement letter with the Company and to represent and assist the Company in
preparing and filing the Petition and related forms, schedules, lists, statements and other papers
or documents is hereby approved, adopted, ratified and continued in all respects; and in
connection therewith, any Designated Officer, and each of them, acting either individually or
jointly, are hereby authorized, empowered, and directed, in the name and on behalf of the
Company, to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the Chapter ll Case, and cause to be filed an appropriate
application for authority to retain the services of Hogan Lovells; and it is

FURTHER RESOLVED, that the retention of the law firm of Dykema Gossctt
PLLC (“Dykema”), to represent the Company as general bankruptcy co-counsel and Texas

4813-440'7~8202_1

 

bankruptcy counsel on the terms set forth in its engagement letter with the Company and to
represent and assist the Company in preparing and filing the Petition and related forms,
schedules, lists, statements and other papers or documents is hereby approved, adopted, ratified
and confirmed in all respects; and in connection therewith, any Designated Officer, and each of
them, acting either individually orjointly, are hereby authorized, empowered, and directed, in the
name and on behalf of the Company, to execute appropriate retention agreements, pay
appropriate retainers prior to and immediately upon the filing of the Chapter ll Case, and cause
to be filed an appropriate application for authority to retain the services of Dykema; and it is

FURTHER RESOLVED, that the retention of Houlihan Lokey (“l-loulihan”), to
provide the Company with financial advisory services on the terms set forth in its engagement
letter between Houlihan and the Company, is hereby approved, adopted, ratified and confirmed
in all respects; and in connection therewith, any Officer, and each of them, acting either
individually or jointly, are hereby authorized, empowered, and directed, in the name and on
behalf of the Company, to execute appropriate retention agreements, pay appropriate retainers
prior to and immediately upon the filing of the Chapter ll Case, and cause to be filed an
appropriate application for authority to retain the services of Houlihan; and it is

FURTHER RESOLVED, that the retention of BMC Group, Inc. (“M”), as
notice, claims and balloting agent in connection with the Chapter ll Case is hereby approved,
adopted, ratified and confirmed in all respects; and in connection therewith, any Officer, and
each of them, acting either individually or jointly, are hereby authorized, empowered, and
directed, in the name and on behalf of the Company, to execute appropriate retention
agreements, pay appropriate retainers prior to and immediately upon the filing of the Chapter ll
Case, and cause to be filed an appropriate application for authority to retain the services of BMC.

Subsidia§y Filings

IT IS RESOLVED, that the Company hereby authorizes and consents to, and
approves, in each case, to the extent necessary, each of Kern River Holdings Inc. and Western
Power & Steam, lnc. (together, the “Subsidiaries”) filing a petition for relief under chapter ll of
the Bankruptcy Code in the Banl<ruptcy Court; and it is

FURTHER RESOLVED, that the Designated Officers shall be, and each of
them, acting alone, hereby is, authorized and empowered in the name of, and on behalf of, the
Company, in its role as sole shareholder of each of the Subsidiaries, to execute a written consent
of the Company to Resolutions for each of the Subsidiaries with respect to a chapter ll case of
each of the Subsidiaries (including filing a petition for bankruptcy).

Additional Resolutions

IT IS RESOLVED, that all of the acts and transactions relating to matters
contemplated by the foregoing resolutions, which acts and transactions would have been
authorized and approved by the foregoing resolutions except that such acts and transactions were
taken prior to the adoption of such resolutions, be, and they hereby are, in all respects adopted,
confirmed, approved, and ratified; and it is

4813~4407-3202,1

 

FURTHER RESOLVED, that all acts lawfully done or actions lawfully taken by
any officer of the Company or any professionals engaged by the Company in connection With the
Chapter ll Case or any proceedings related thereto, or any matter related thereto, be, and hereby
are, adopted, ratified, confirmed and approved in all respects as the acts and deeds of the
Company; and it is

FURTHER RES{)LVED, that any and all actions and transactions by any officer
for and on behalf and in the name of`the Company with respect to any transactions contemplated
by the foregoing resolutions before the adoption of the foregoing resolutions be, and they hereby
are, ratified, authorized approved, adopted and consented to in all respects for all purposes; and
it is

FURTHER RES()LVED, that the omission from these Resolutions of any
agreement, document or other arrangement contemplated by any of the agreements, documents
or instruments described in these Resolutions or any action to be taken in accordance with any
requirement of any of the agreements, documents or instruments described in these Resolutions
shall in no manner derogate from the authority of the Designated Off`rcers to take all actions
necessary, desirable, advisable or appropriate to consummate, effectuate, carry out or further the
transactions contemplated by, and the intent and purposes of, these Reso`lutions'; and it is

FURTHER RESOLVE]), that any Designated Gfticer of the Company hereby
are authorized and directed to certify and/or attest these resolutions, certificate of incumbency
and such other documents or instruments that the corporate secretary of the Company may deem
necessary or appropriate in connection with the foregoing matters; provided, however, that such
certification and/or attestation shall not be required for any docurnent, instrument cr agreement
to be valid and binding on the Co_mpany; and it is

FURTHER RESOLVED, that any Designat_ed Officer ot` the Company shall be,
and each of them, hereby is, authorized, directed and empowered in the name and on behalf of
the Company, as debtor and debtor in possession, to negotiate, execute, deliver, and perform, or
cause to be negotiated, executed, delivered, and performed, on behalf of, and take such actions
and execute, acknowledge7 deliver and verify such agreements, certificates, instruments,
guaranties, notices and any and all other documents as any proper officer of the Company may
deem necessary or appropriate to facilitate the transactions contemplated by the foregoing
resolution, as may be deemed necessary, desirable or appropriate

IN WITNESS WHEREOF,, the undersigned has signed this Certificate as to
Resolutions on this tOth day o;l`November, 2018.

 

 

 

